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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

                                               CASE No. 1:19-cv-24583-RNS

  HARRY GREEN,

         Plaintiff,

  vs.

  ARC MANAGEMENT GROUP, LLC,
  and STERLING EMERGENCY
  SERVICES OF MIAMI BEACH, P.A.,

        Defendant.
  _________________________________/

                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Plaintiff HARRY GREEN, by and through undersigned counsel, pursuant to Rule

  41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, hereby file this Notice Voluntary Dismissal

  with Prejudice of the above styled action.

         DATED: January 24, 2020

                                                                Respectfully Submitted,

                                                                 /s/ Jibrael S. Hindi                                   .
                                                                JIBRAEL S. HINDI, ESQ.
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                                                                COUNSEL FOR PLAINTIFF


                                                                                                                 PAGE | 1 of 2
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                                          CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on January 24, 2020, the foregoing was electronically

  filed with the Clerk of the Court using the CM/ECF system which will send a notice of electronic

  filing to all counsel of record.

                                                                 Respectfully Submitted,

                                                                  /s/ Thomas J. Patti                                    .
                                                                 THOMAS J. PATTI, ESQ.
                                                                 Florida Bar No.: 118377




                                                                                                                  PAGE | 2 of 2
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